Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 1 of 16




                                                                  Exhibit 1
                                                               Page 1 of 16
Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 2 of 16




                                                                  Exhibit 1
                                                               Page 2 of 16
Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 3 of 16




                                                                  Exhibit 1
                                                               Page 3 of 16
Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 4 of 16




                                                                  Exhibit 1
                                                               Page 4 of 16
Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 5 of 16




                                                                  Exhibit 1
                                                               Page 5 of 16
Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 6 of 16




                                                                  Exhibit 1
                                                               Page 6 of 16
Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 7 of 16




                                                                  Exhibit 1
                                                               Page 7 of 16
Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 8 of 16




                                                                  Exhibit 1
                                                               Page 8 of 16
Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 9 of 16




                                                                  Exhibit 1
                                                               Page 9 of 16
Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 10 of 16




                                                                   Exhibit 1
                                                               Page 10 of 16
Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 11 of 16




                                                                   Exhibit 1
                                                               Page 11 of 16
Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 12 of 16




                                                                   Exhibit 1
                                                               Page 12 of 16
Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 13 of 16




                                                                   Exhibit 1
                                                               Page 13 of 16
Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 14 of 16




                                                                   Exhibit 1
                                                               Page 14 of 16
Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 15 of 16




                                                                   Exhibit 1
                                                               Page 15 of 16
Case 2:18-cv-00606-RSL Document 85-1 Filed 06/04/20 Page 16 of 16




                                                                   Exhibit 1
                                                               Page 16 of 16
